

Matter of Riccelli Enters., Inc. v State of N.Y. Workers' Compensation Bd. (2019 NY Slip Op 01011)





Matter of Riccelli Enters., Inc. v State of N.Y. Workers' Compensation Bd.


2019 NY Slip Op 01011


Decided on February 8, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 8, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CURRAN, TROUTMAN, AND SCUDDER, JJ.


135/17 CA 16-00250

[*1]IN THE MATTER OF RICCELLI ENTERPRISES, INC., ET AL., PETITIONERS-PLAINTIFFS-RESPONDENTS, 3679 RIVER ROAD, INC., ET AL., INTERVENORS-PETITIONERS-PLAINTIFFS-RESPONDENTS,
vSTATE OF NEW YORK WORKERS' COMPENSATION BOARD, ET AL., RESPONDENTS-DEFENDANTS-APPELLANTS. (APPEAL NO. 1.) 






LETITIA JAMES, ATTORNEY GENERAL, ALBANY (JEFFREY W. LANG OF COUNSEL), FOR RESPONDENTS-DEFENDANTS-APPELLANTS. 
BARCLAY DAMON LLP, SYRACUSE (PATRICIA S. NAUGHTON OF COUNSEL), FOR PETITIONERS-PLAINTIFFS-RESPONDENTS AND INTERVENORS-PETITIONERS-PLAINTIFFS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Onondaga County (Donald F. Cerio, Jr., A.J.), entered May 8, 2015. The order, inter alia, granted the motion of petitioners-plaintiffs and intervenors-petitioners-plaintiffs for partial summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on January 15, 2019,
It is hereby ORDERED that said appeal is dismissed without costs upon stipulation.
All concur except Scudder, J., who is not participating.
Entered: February 8, 2019
Mark W. Bennett
Clerk of the Court








